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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE R. BROOKE JACKSON


Civil Action:          16-cv-03000-RBJ                           Date: September 18, 2018
Courtroom Deputy:      Julie Dynes                               Court Reporter: Sarah Mitchell

                        Parties                                              Counsel

PATRICE STEPHENSON-LICCIARDI                                           Scott W. Wellman
                                                                       Chris A. Wellman
                                                                      Katherine M. Windler
                       Plaintiff

v.

WILLIAM COOPER                                                           Andrew C. Efaw
CLAUD BAYS                                                              Kevin D. Homiak
MICHAEL BONNET                                                           Ellen E. Herzog
STEVEN HAKE                                                             Stephen J. Hensen
USA                                                                      W. Dean Carter
                                                                           Jacob Licht
                       Defendants


                                   COURTROOM MINUTES


JURY TRIAL DAY SEVEN

Court in Session: 9:02 a.m.

Jury escorted in.

Plaintiff, Patrice Licciardi, recalled and remains under oath.

9:07 a.m.      Continued cross examination of Ms. Licciardi by Ms. Herzog.
               Exhibits A6 (pages 2-11), W4, 7 (page 56), 19 (pages 6, 7, 8, 9), 48 (pages 49,
               50, 54, 55) and 61 are admitted.

10:36 a.m.     Court in recess- jury escorted out.
10:48 a.m.     Court in session – jury escorted in.
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10:49 a.m.     Cross examination of Ms. Licciardi by Mr. Hensen.
               Exhibits 41 (pages 65, 66), 45 (page 13), H5 and Y4 (pages 22, 35, 37, 38) are
               admitted.

12:08 p.m.     Court in recess – jury escorted out.
1:06 p.m.      Court in session – jury escorted in.

1:08 p.m.      Redirect examination of Ms. Licciardi by Ms. Windler.
               Exhibits 6 (pages 5, 7), 37 (pages 1, 2,3, 4, 7, 19), 41 (pages 34, 60), 45 (page
               10) are admitted.

Juror questions reviewed at the bench.

1:30 p.m.      Juror questions asked of Ms. Licciardi by the Court.

1:31 p.m.      Additional examination of Ms. Licciardi by Mr. Hensen.

Plaintiff’s witness, Luciann Rosen, N.P., called and sworn.

1:33 p.m.      Direct examination of Ms. Rosen by Scott Wellman.

1:52 p.m.      Cross examination of Ms. Rosen by Mr. Licht.
               Exhibits N2 and Y5 are admitted.

2:47 p.m.      Court in recess – jury escorted out.
3:03 p.m.      Court in session – jury escorted in.

3:04 p.m.      Continued cross examination of Ms. Rosen by Mr. Licht.
               Exhibit V3 (page 51) is admitted.

3:11 p.m.      Cross examination of Ms. Rosen by Mr. Hensen.

3:12 p.m.      Redirect examination of Ms. Rosen by Scott Wellman.

3:17 p.m.      Recross examination of Ms. Rosen by Mr. Licht.

Plaintiff’s witness, E. Brook Feerick R.N., called and sworn.

3:19 p.m.      Direct examination of Ms. Feerick by Scott Wellman.

Jury excused, to return tomorrow morning at 9:00 a.m.
Discussion held on witnesses to be called tomorrow.
Court in Recess: 4:04 p.m.           Trial continued.                 Total time in Court: 05:35
